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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA

   UNITED STATES OF AMERICA,             )       Case No. 23-80101-CR
                                         )       CANNON/REINHART
                    Plaintiff,           )
                                         )
   v.                                    )
                                         )
   WALTINE NAUTA, and                    )
   CARLOS DE OLIVEIRA,                   )
                                         )
                    Defendants.          )



                        PRESIDENT DONALD J. TRUMP’S
             REPLY IN FURTHER SUPPORT OF MOTION TO INTERVENE
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          President Trump respectfully submits this reply in further support of his Motion, Doc. 681,

   to intervene or, in the alternative, to participate as amicus curiae in support of Defendants’ joint

   motion to enjoin the release of Volume II of Jack Smith’s final report, Doc. 679 (the “Intervention

   Motion” in support of the “Injunction Motion”).

                                              ARGUMENT

   A.     Intervention Is Appropriate.

          “Intervention in criminal cases is” permitted where “a third party’s constitutional or other

   federal rights are implicated by the resolution of a particular motion, request, or other issue during

   the course of a criminal case.” United States v. Carmichael, 342 F. Supp. 2d 1070, 1072 (M.D.

   Ala. 2004). President Trump possesses multiple Constitutional and federal rights that will be

   “implicated” by the “resolution” of the Injunction Motion and warrant intervention.

          First, under the Executive Vesting Clause, U.S. CONST. art. II, § 1, cl. 1, the President-

   Elect must prepare for his imminent assumption of “[t]he executive Power” of the United States.

   This intense period of preparation—a period that the Constitution deliberately creates, U.S. CONST.

   amend. XX—ensures that the incoming President will be fully equipped to fulfill his unique and

   extraordinary obligations as our Nation’s Chief Executive. Seila L. LLC v. Consumer Fin. Prot.

   Bureau, 591 U.S. 197, 203 (2020) (“Under our Constitution, the ‘executive Power’—all of it—is

   ‘vested in a President,’ who must ‘take Care that the Laws be faithfully executed.’”).

          Arising from this Constitutional structure is an indispensable right for the President-Elect

   to prepare for office without interference from the outgoing administration. See Definition of

   “Candidate” under 18 U.S.C. § 207(j)(7), 24 Op. O.L.C. 288, 292 (2000) (“The transition period

   insures that the candidate will be able to perform effectively the important functions of his or her




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   new office as expeditiously as possible” and is “one of the most important public objectives in a

   democratic society.” (quotation marks omitted)).

          Rather than respecting this Constitutional right, the government—at the direction of an

   Attorney General who will resign in less than four days—seeks to unlawfully transmit an

   unprecedented array of false and derogatory case information, compiled by an unconstitutionally

   appointed private citizen, to President Trump’s political opponents in Congress, including

   individuals who have already publicly and viciously criticized President Trump and the Court in

   relation to this case.1 The government does this despite knowing that these political actors will

   have every ability and incentive to use such information to undermine President Trump’s transition

   and his ability to govern our Nation moving forward.2 Nor is there any material doubt the ranking

   members will do so, given their immediate politicking on Volume I of Smith’s report, including

   extensive and hyperbolic commentary on the contents of that Volume. See Raskin, Ranking

   Member Raskin’s Statement on Special Counsel Jack Smith’s Report on President-Elect Donald

   Trump’s Election Subversion and Incitement of Insurrectionary Violence (Jan. 15, 2025); Durbin,


   1
     See House Judiciary Committee Ranking Member Jamie Raskin, Ranking Member Raskin’s
   Statement on the Dismissal of the Classified Documents Case Against Donald Trump (July 15,
   2024) (“Today, a federal trial judge, who has been on the bench for less than four years but has
   already been upbraided by her appellate court for egregious departures from the rule of law, has
   tried to vaporize this long-standing institutional practice in order to benefit the President who
   appointed her. Former President Trump’s actions require accountability—not the overthrowing of
   the Special Counsel on dubious constitutional grounds.”); Senate Judiciary Committee Ranking
   Member Dick Durbin, Durbin Statement On Federal Judge Dismissing Classified Documents
   Case Against Donald Trump (July 15, 2024) (“This unprecedented decision goes far beyond this
   individual prosecution and undermines the entire system that our country has long relied on to
   protect the independence of investigations of the Executive Branch and prosecutions of political
   figures.”).
   2
    Contrary to the government’s suggestion, Doc. 710 at 6, the harm that the disclosure of false and
   derogatory case information, and the ensuing media firestorm, would cause on the transition is
   self-evident. Doc. 679, Ex. A at 4. At minimum, it would cause an unacceptable burden on the
   President-Elect’s attention, which must be fully focused on his impending duties as President
   during this crucial period just days before inauguration.


                                                   2
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   Durbin Statement On Former Special Counsel Jack Smith's Report On Trump's Interference In

   The 2020 Election (Jan 14, 2025).

          Thus, the government is not seeking, as it claims, to aid Congress in exercising its

   “oversight functions.” Doc. 703 at 3. Instead, by delivering Volume II to unashamed partisans, the

   government strategically aims to ensure the Volume’s public release. Although the government

   claims that a purported “agree[ment] to specified conditions of confidentiality,” id. at 4, would

   alleviate these concerns, it would do nothing of the sort. As the government well knows, the

   Constitution prohibits any enforceable restrictions on the ranking members’ use or disclosure of

   information in furtherance of their official duties. The ranking members could, for example, stand

   on the floor of the House or Senate and disclose the entire contents of Volume II, without fear of

   any legal consequence. U.S. CONST. art. I, § 6, cl. 1 (providing for Speech or Debate Immunity);

   Hutchinson v. Proxmire, 443 U.S. 111, 130 (1979) (“A speech by [a Senator] in the Senate would

   be wholly immune and would be available to other Members of Congress and the public in the

   Congressional Record.”). Thus, whatever “confidentiality agreement” the government purports to

   adopt (the terms of which the government has pointedly not provided the Court), it is entirely

   illusory, because no such agreement is enforceable. Disclosure to the ranking members is

   functionally equivalent to public disclosure. This, in turn, poses an extraordinary danger to

   President Trump’s ability and right to prepare for the Presidency free of such unconstitutional

   attacks by the incumbent administration.

          Thus, the Injunction Motion, which seeks to prevent the government’s transmission of

   confidential case information to Congressmen and Senators beyond the control of the Court in the

   first instance, “implicate[s]” President Trump’s constitutional rights and warrants his intervention.

   Carmichael, 342 F. Supp. 2d at 1072.




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          Second, for similar reasons, the Presidential Transition Act, 3 U.S.C. § 102 note (the

   “Act”), confers an additional “federal right[]” that the Injunction Motion “implicate[s].”

   Carmichael, 342 F. Supp. 2d at 1072. Specifically, the Act “promote[s] the orderly transfer of the

   executive power in connection with the expiration of the term of office of a President and the

   inauguration of a new President,” and recognizes that “[a]ny disruption” of the transition “could

   produce results detrimental to the safety and well-being of the United States and its people.” Act

   § 2. The Act charges “all officers of the Government” with obligations “to avoid or minimize

   disruptions that might be occasioned by the transfer of the executive power,” and “otherwise to

   promote orderly transitions in the office of President,” id.—the exact opposite of what the

   government seeks to do here.

          Concomitant with these obligations is the President-Elect’s right to be free of the

   “disruptions” that the Act prohibits. See id. Thus, where, as here, a party seeks to disclose case

   information to Congress that may “disrupt” the transition, id., and thereby “infringe[] o[n] an[]

   interest conferred on” the President-Elect, intervention is appropriate. Carmichael, 342 F. Supp.

   2d at 1072.

          Third, it is inherently improper and contrary to Due Process for the government to falsely

   accuse President Trump of crimes in communications to members of Congress, while denying him

   the ability to contest those allegations and exonerate himself before a neutral adjudicator. See

   Coffin v. United States, 156 U.S. 432, 453, 460 (1895) (holding the presumption of innocence is

   “the undoubted law, axiomatic and elementary” and “vital and fundamental” to our Constitutional

   system); see also Justice Manual § 1-7.610 (“DOJ personnel should refrain from disclosing,” inter

   alia, “[a]ny opinion as to [a] defendant’s guilt” or any other “[o]bservations about a defendant’s

   or party’s character” “except as appropriate in the proceeding or in an announcement after a




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   finding of guilt.” (emphasis added)). Indeed, “[i]n the absence of some significant justification,

   federal prosecutors generally should not” even “identify [alleged] unindicted co-conspirators,”

   which President Trump now is, in statements outside the Department. See generally Justice Manual

   §§ 9-11.130; 9-27.760.

             The government previously abided by these bedrock constraints in other cases, and

   President Trump has an undeniable Constitutional interest in ensuring the government does so in

   this case as well. See, e.g., Mueller Report, Vol. II at 2 (declining to opine on President Trump’s

   conduct and stating “[t]he ordinary means for an individual to respond to an accusation is through

   a speedy and public trial, with all the procedural protections that surround a criminal case. An

   individual who believes he was wrongly accused can use that process to seek to clear his name. In

   contrast, a prosecutor’s judgment that crimes were committed, but that no charges will be brought,

   affords no such adversarial opportunity for public name-clearing before an impartial

   adjudicator.”).3 This is especially true here, where the Department cannot lawfully transmit the

   report to anyone, given Smith’s unconstitutional appointment and unlawful expenditure of

   unappropriated funds. See Doc. 681 at 4 (“There is no basis for Smith to be spending taxpayer

   dollars to interfere with the Presidential transition process by making false and prejudicial claims

   about President Trump, Nauta, De Oliveira, and other uncharged parties.”).

             Fourth, just as the Defendants may appropriately challenge the disclosure of information

   that “would be inconsistent with the[ir] fair trial rights,” Doc. 697 at 3 (Order), so too does

   President Trump have the right to prevent the government from engaging in gamesmanship that

   could prejudice any future proceeding, no matter how unlikely, inappropriate, or unconstitutional

   that such a proceeding may be.


   3
       Available at https://www.justice.gov/archives/sco/file/1373816/dl


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           In Smith’s motion to dismiss his wholly meritless appeal as to President Trump, Smith

   claimed that the Court’s underlying dismissal (Doc. 672) was without prejudice. 11th Cir. Appeal

   No. 24-12311 (Doc. 79). The Court’s dismissal order does not make that qualification, see Doc.

   672 at 93 (ordering the case “DISMISSED” without any reservation), and any future attempt to

   indict or try President Trump in relation to this case would be the subject of vigorously contested

   litigation on that point. Regardless, the government wrongly believes that it may obtain another

   indictment and bring President Trump to trial, notwithstanding its dismissal. Although this may be

   exceedingly unlikely given the facts, law, procedural posture, and (most prominently) President

   Trump’s complete innocence, the possibility still exists. Thus, President Trump has an overriding

   right and interest in preventing prejudice to any potential future trial, notwithstanding the

   unlikelihood of that trial. Stated differently, the government cannot evade the Court’s jurisdiction

   to protect the integrity of these proceedings simply by dismissing and refiling at a later date. The

   possibility of the government seeking another indictment still exists; therefore, President Trump

   has standing to intervene. In this manner, there is little difference between the positions of

   President Trump (who faces the unlikely possibility of a new indictment) and Defendants (who

   face a similarly unlikely possibility that the 11th Circuit overturns this Court’s dismissal order).

           Fifth, President Trump has statutory rights barring the release of information identifying

   individuals, see 5 U.S.C. § 552a(b), and grand jury material, see Fed. R. Crim. P. 6, that he is

   allowed to vindicate here by intervening.

           Sixth, this action presents the most appropriate forum for President Trump to seek relief.

   Unlike Volume I, which the government wrongly claimed was unrelated to these proceedings,

   there is no dispute that this case, and the underlying investigation that led to this case, is the subject

   of Volume II. Doc. 697 (Order) (“All parties agree that Volume II expressly and directly concerns




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   this criminal proceeding.”). Thus, President Trump’s arguments for relief are most sensibly

   presented in this case. For similar reasons, judicial economy weighs in favor of intervention.

   President Trump does not seek intervention to file a new motion. Rather, he simply seeks to support

   an already pending motion, the resolution of which implicates his rights as President-Elect and

   otherwise. It is, therefore, entirely reasonable that President Trump would submit his arguments

   for the Court’s consideration in this matter, where the issue is already pending.

          Given the Court’s long history with this proceeding, and its deep familiarity with both the

   facts and legal issues, it is in the best position to weigh the Constitutionally significant arguments

   raised by President Trump and reach an expeditious resolution. This is particularly true given the

   emergency nature of the Injunction Motion, which itself arises out of the government’s efforts to

   release Volume II in the last possible moments of the current administration.4

          Finally, no party will be prejudiced by President Trump’s intervention. Defendants, who

   filed the Injunction Motion in the first instance, do not oppose President Trump’s intervention.

   The government, likewise, faces no harm. Apart from tautological (and obvious) assertions that

   non-parties are not participants in a case until the Court orders otherwise, Doc. 701 at 2, the

   government does not articulate any reason the Court should close its ears to President Trump’s

   objections. Nor can it. Intervention does not materially change the underlying nature of this

   dispute. As noted above, the Injunction Motion will remain pending with or without President

   Trump’s participation. Granting intervention simply allows President Trump to add his voice for

   the Court’s consideration in deciding this enormously significant matter.




   4
     The government complains that “[a]ny disclosure of Volume Two will be the result of action by
   the Department of Justice separate from the prosecution of Defendants.” Doc. 710 at 8. However,
   by taking the Injunction Motion under advisement, Doc. 697 at 3 (Order), the Court has already
   determined that questions regarding the handling of the report are appropriately raised in this case.


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          Moreover, President Trump’s voice is one the Court should hear. The People of this country

   overwhelmingly re-elected President Trump and entrusted him with the extraordinary

   responsibility of preparing for the Presidency and, at 12:01 P.M. on January 20, 2025, assuming

   the Oval Office. No one else in America, including Defendants, can defend the rights and interests

   that the People, the Constitution, and the Presidential Transition Act have all vested in President

   Trump. It is President Trump’s solemn and individual responsibility to take all actions appropriate

   and necessary to prevent harm to these compelling interests. Accordingly, it is crucial that the

   Court allow President Trump to intervene and present argument on these topics. Alternatively, the

   Court may, and should, allow President Trump to participate in argument as amicus curiae—relief

   that the Court has previously granted in this case. See Docs. 355, 367, 411, 430.

   B.     The Government’s Responses Are Unavailing.

          The government has improperly filed multiple responses in opposition to President

   Trump’s motion to intervene. Docs. 701, 710. Regardless, the responses are unavailing. In both,

   the government principally argues that intervention is permitted “only where the granting of a

   motion in a criminal case would infringe on a third party’s constitutional rights.” Doc. 701 at 2

   (emphasis added); see also Doc. 710 at 3–4. This is incorrect. As Carmichael explains, the Court

   may allow intervention in a criminal case when the “resolution” of a motion “implicate[s]” a third

   party’s Constitutional or federal statutory rights. 342 F. Supp. 2d at 1072 (emphasis added). As a

   “resolution” may be either favorable or unfavorable, the relevant inquiry is not whether a proposed

   intervenor supports or opposes a motion, but rather whether the outcome of the Court’s decision

   would affect the intervenor’s interests. This is entirely sensible because, in many circumstances

   (including those presented here), the relevant harm would arise from the Court’s failure to act.




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          For example, in Gravel v. United States, the government subpoenaed a witness to appear

   before a grand jury. 408 U.S. 606, 609 n.1 (1972). The witness filed a motion to quash, which

   Senator Gravel intervened to support. Id. The district court granted intervention, and the Supreme

   Court later permitted the Senator to continue his litigation in that matter, notwithstanding the fact

   that it would have been the denial of the motion to quash, rather than its granting, that the Senator

   thought would harm his rights. See id. Identically here, the Court’s denial of the Injunction Motion

   would harm President Trump’s Constitutional and statutory rights, and therefore provides the basis

   for intervention. See id.

          The government’s reliance on United States v. Atesiano is likewise misplaced. No. 18-

   20479-CR, 2018 WL 5831092, at *4 (S.D. Fla. Nov. 7, 2018). In Atesiano, the court distinguished

   between “interven[tion] for offensive reasons,” which it disapproved of, and “defensive

   intervention,” which it explained would be allowed. However, whether an intervention is

   “offensive” or “defensive” is conceptually separate from whether the intervenor supports or

   opposes a motion. In Atesiano, for example, the non-party sought intervention “to obtain

   information for use in his civil action”—an inherently “offensive” goal as it would force the

   government to perform an act it would otherwise not be required to perform. Id. Here, by contrast,

   President Trump seeks defensive relief, as he aims to stop the government from performing an act

   that would prejudice his rights and interests. Thus, President Trump’s efforts are best characterized

   as “defensive intervention,” and entirely consistent with Atesiano. See id.5




   5
     Atesiano and Carmichael both cite Gravel, which again involved intervention in support of a
   motion, as an example of when intervention is permitted, categorizing it as a case involving
   intervention “to protect other rights implicated by a particular proceeding.” Atesiano, 2018 WL
   5831092, at *2 (quoting Carmichael, 342 F. Supp. 2d at 1072).


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          Regardless, neither Atesiano nor Carmichael is binding on the Court, and, as the Atesiano

   court points out, the Federal Rules are conspicuously silent on the subject . Id. at *2. Nor is counsel

   aware of any Circuit precedent that would control the Court’s analysis or otherwise limit when the

   Court may or may not allow intervention. Here, given the very significant federal and

   Constitutional interests at stake—and the unique circumstance where the outgoing Executive

   proposes an action that materially harms the incoming Executive—the Court should not apply an

   overly rigid or narrow test for determining whether intervention is appropriate.6 Rather, for all the

   reasons described above, the Court should permit President Trump the opportunity to argue in

   support of the Injunction Motion.

                                             CONCLUSION

          The Court should grant President Trump’s motion to intervene as to Volume II, Doc. 681,

   or alternatively allow his participation as amicus curiae.




   6
    Precedent from other Circuits likewise eschews overly narrow or technical tests, instead focusing
   on whether an intervenor’s rights would be harmed by the outcome of a motion, irrespective of the
   specific procedural posture. See United States v. Blagojevich, 612 F.3d 558, 559 (7th Cir. 2010)
   (permitting intervention “when the potential intervenor has a legitimate interest in the outcome
   and cannot protect that interest without becoming a party.”); United States v. Aref, 533 F.3d 72, 81
   (2d Cir. 2008) (permitting intervention as “[f]ederal courts have authority to formulate procedural
   rules not specifically required by the Constitution or the Congress to implement a remedy for
   violation of recognized rights.” (citations and quotation marks omitted)).


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   Dated: January 16, 2025                              Respectfully submitted:

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on January 16, 2025, a true and correct copy of the foregoing was filed

   electronically with the Court’s CM/ECF system to be served electronically on counsel of record

   for all parties who have entered in the case.

                                                        /s/Gregory M. Singer
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